Dear Secretary Carnahan:
This opinion letter responds to your request dated June 16, 2009, for our review under § 116.332, RSMo, of the sufficiency as to form of an initiative petition to amend Article III of the Missouri Constitution submitted by Todd Jones (version 1).
We conclude that the petition must be rejected for at least the following reason:
  The introductory sentence to the full and correct text of the proposed measure does not conform with § 116.050, RSMo.
Because of our rejection of the form of the petition for the reason stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to § 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
Very truly yours,
                                                         _________________ CHRIS KOSTER Attorney General *Page 1 